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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

                                               :
RAHUL MANCHANDA, ESQ.,                         :
                                               :
                     Plaintiff,                :
                                               :         19cv5121
              -against-                        :
                                               :         ORDER
NAVIENT STUDENT LOANS and                      :
EDUCATIONAL CREDIT MANAGEMENT                  :
CORPORATION,                                   :
                                               :
                     Defendants.               :


WILLIAM H. PAULEY III, Senior United States District Judge:

              The oral argument scheduled for January 23, 2020 is rescheduled to January 30,

2020 at 3:30 p.m.

Dated: January 23, 2020
       New York, New York

                                                   SO ORDERED:
